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                          UNITED STATES DISTRICT COURT
                                                    for the
                                             District of Colorado

                  United States of America                       )    Case No. 22-mj-00115-KLM
                                                                 )
                               v.                                )
                                                                 )
                                                                 )
                  TORY SHANE SMART,
                                                                 )
                      Defendant(s)

                                    CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief:
On or about July 2, 2022, in the State and District of Colorado, TORY SHANE SMART violated:


       Code Section                              Offense Description
       18 U.S.C. § 922(g)(1)                     Prohibited Person in Possession of Firearm/Ammunition
       21 U.S.C. § 841(a)(1), (b)(1)(C)          Possession with intent to distribute a controlled substance


       This criminal complaint is based on these facts:
       See Affidavit attached hereto and herein incorporated by reference.
       x   Continued on attached sheet.
                                                          /s John Dalen Bunch                                  .
                                                                            Complainant’s signature

                                                          U.S. Forest Service Special Agent John Dalen Bunch
                                                                           Printed name and title

Sworn to before me and:         signed in my presence.
                                submitted, attested to, and acknowledged by reliable electronic means.

Date: _______
       03August
          Jul 2022
                25, 2012                                  __________________________________________
                                                                          Judge’s signature

                                                             Kristen L. Mix
City and state:___________________
                 Denver, Colorado                         __________________________________________
                                                             United States Magistrate Judge
                                                                          Printed name and title
